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     IN THE DISTRICT COURT OF THE UNITED STATES FOR THE

       MIDDLE DISTRICT OF ALABAMA, NORTHERN DIVISION




UNITED STATES OF AMERICA,           )
                                    )         CRIMINAL ACTION NO.
      v.                            )            2:04cr009-T
                                    )               (WO)
JOANNA NICOLE HOOKS                 )

                                   ORDER

      Upon consideration of the opinion of the United

States Court of Appeals for the Eleventh Circuit entered

on    September     14,    2005,     affirming     the    judgment       of

conviction and sentence pronounced in this case as to

defendant Joanna Nicole Hooks on January 31, 2005, and

entered on February 7, 2005 (Doc. no. 191), and the

mandate of the United States Court of Appeals for the

Eleventh Circuit issued on October 13, 2005, and received

in the office of the clerk of this court on October 14,

2005 (Doc. no. 280), it is the ORDER, JUDGMENT, and

DECREE of the court that the judgment of conviction and

sentence pronounced upon defendant Joanna Nicole Hooks on
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January 31, 2005, and entered on February 7, 2005 (Doc.

no. 191), is continued in full force and effect.

    DONE, this the 18th day of October, 2005.



                            /s/ Myron H. Thompson
                          UNITED STATES DISTRICT JUDGE
